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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:24-CR-101-DJC
11
                                   Plaintiff,             JOINT STATEMENT OF THE CASE
12
                            v.                            TRIAL DATE: July 8, 2024
13                                                        TIME: 8:30 a.m.
     ANTON ANDREYEVICH IAGOUNOV,                          COURT: Hon. Daniel J. Calabretta
14
                                  Defendant.
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16
            The parties stipulate and agree to the following joint statement of the case to be read to the
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     prospective jury:
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            In this federal criminal case, Anton Iagounov is charged with four violations of 18 U.S.C. § 912,
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     false impersonation of an officer of the United States: specifically, false impersonation of a Special
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     Agent of the NASA – Office of the Inspector General. Mr. Iagounov has pleaded not guilty to each of
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     these charges.
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             Case 2:24-cr-00101-DJC Document 23 Filed 06/24/24 Page 2 of 2

 1   Dated: June 24, 2024                        PHILLIP A. TALBERT
                                                 United States Attorney
 2

 3                                         By: /s/ Audrey B. Hemesath
                                               JAMES R. CONOLLY
 4                                             AUDREY B. HEMESATH
 5                                               Assistant United States Attorneys
 6

 7                                               /s/ Michael Heumann
 8                                               MICHAEL HEUMANN
                                                 Attorney for Anton Iagounov
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